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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------- X
JANE DOE,                                                     :
                                                              :
                                      Plaintiff,              :   Civil Action No. 23-cv-06418
                                                              :
          v.                                                  :
                                                              :   FIRST AMENDED COMPLAINT
LEON BLACK,                                                   :
                                                              :
                                     Defendant.               :   Jury Trial Demanded
                                                              :
------------------------------------------------------------- X




                  He threw me on the floor and blood all over
                        Jeffreys carpet and I am the issue?
                        Who the fuck bites someone? Sick!
             No one is that important and Leon can go fuck himself.
                                 I hate New York!

        Plaintiff Jane Doe’s Journal Entry



        Plaintiff Jane Doe, by and through counsel Wigdor LLP, alleges against Defendant Leon

Black (“Black” or “Defendant”), as follows:

        1.       Plaintiff Jane Doe, from ages 16 to 19, had almost no ability to speak out about the

horrors she experienced as the victim of sex trafficking, particularly because her                 and

             at the time were directly involved in and responsible for sending her off to men,

including Jeffrey Epstein, for the purpose of sexual exploitation. She was, however, able to start

a journal to document what she was forced to endure.

        2.       In these journals, she wrote two specific entries that documented a particularly
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brutal instance of abuse by Defendant Leon Black. In the first she wrote:

               Walk down Madison Avenue to 71st St.

               My         has lost her fucking mind. Even though Ghislane said it
               was best to take me home because Mr. Black is so important for
               some reason over my health.

               There is going to be hell to pay. I ruined their trip and I am dramatic
               when that fat fuck bit me!

               He threw me on the floor and blood all over Jeffreys carpet and
               I am the issue?

               Who the fuck bites someone? Sick!

               No one is that important and Leon can go fuck himself.

               I hate New York!

       3.      In her next journal entry, Plaintiff wrote “Leon Black” next to a poem she cut and

pasted into the notebook, having underlined words in the poem such as “Fatso” and “millionaire.”

       4.      The horrific incident these entries reference was a particular day when at Jeffrey

Epstein’s Manhattan townhouse located at 9 East 71st, Epstein trafficked Jane Doe to his close

friend Leon Black.

       5.      Jane Doe is autistic, and she was 16 when Jeffrey Epstein introduced her to Black

and said she was to give his “special friend Leon Black” the same kind of massage that she had to

give to Jeffrey Epstein when he ordered her to. Even as Black grabbed her hand so hard that she

thought he broke bones, Jeffrey Epstein knew Jane Doe would never disobey. Developmentally

she is about 12, and when she was threatened to do as told because “bad girls” get in “trouble,”

she did as she was told.

       6.      Black took her to the third floor of the townhouse, to a massage room where she

had been before with Jeffrey Epstein. There, and using adult sex toys in her anus and vagina, he



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raped her.

        7.     He also bit her vagina – a heinous act.

        8.     His physical force was such that when he left her on the floor sobbing, she was

bleeding. As set forth below, Jeffrey Epstein refused to take her to a doctor, and instead said that

Ghislaine Maxwell would take care of it.

        9.     Sadly, Ms. Doe’s experience is one more in a long line of despicable and heinous

experiences inflicted on a minor trapped in a web of sexual exploitation – a web that extended to

a group of powerful and influential politicians and business moguls, including Black and Epstein.

        10.    Ms. Doe filed the instant lawsuit on July 25, 2023, seeking justice and

accountability for Black’s assault of her.

                   JURISDICTION, VENUE & LIMITATIONS PERIOD

        11.    The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332, as this

action involves citizens of different states and the amount in controversy in this matter exceeds

$75,000.

        12.    Venue is proper in the Southern District of New York pursuant to 28 U.S.C. §

1391(b) because a substantial part of the events or omissions giving rise to this action, including

the unlawful sexual assaults alleged herein, occurred in this district, and Defendant resides in this

district.

        13.    Pursuant to the New York City Victims of Gender-Motivated Violence Protection

Act (VGMVPL), as amended, N.Y.C. Admin. Code § 10-1105(a), this case is timely.

                                             PARTIES

        14.    Plaintiff Jane Doe is over the age of 18, and is a citizen of the U.S.

        15.    Defendant Leon Black is over the age of 18, is a citizen of the U.S. and resides in



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New York, New York.

                                     FACTUAL ALLEGATIONS

I.      PLAINTIFF IS AUTISTIC

         16.    Ms. Doe is autistic, 1 and was born with Mosaic Down Syndrome, a rare condition

where only some of the body’s cells contain an extra chromosome (in contrast to an individual

with typical Down Syndrome, who is born with an extra chromosome in every cell in her body).

As a result, while Plaintiff does not appear physically or outwardly different from a neurotypical

individual, she suffers from many of the same neurological disabilities and health issues that are

tragically common among individuals with Down Syndrome.

         17.    Although Ms. Doe has an above average intelligence quotient (IQ), her

developmental age is around 12 years old.

         18.    Because Ms. Doe is autistic, it is difficult for her to understand social cues based

on the behavior of people she encounters. To be clear, being able to “read the room,” is an

impossible task. Instead, Plaintiff experiences the world in a child-like way and sees situations in

terms of whether something is “right” or “wrong,” or “good” versus “bad.”

        19.     As with most autistic people, she is extremely trusting. Sadly, this is one factor




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         According to Dr. Daniel Geschwind, professor of human genetics, neurology and psychiatry at
UCLA, “autism refers to a broad range of conditions characterized by challenges with social skills and
social and communication and repetitive behaviors, resistance to changes in routine, or restricted interests.
… it’s not one thing, and no two autistic children or adults are exactly alike even though they may share
basic features.” https://www.cnn.com/2023/04/12/health/what-is-autism-explainer-wellness/index.html;
the National Institute of Mental Health describes autism as: “a neurological and developmental disorder
that affects how people interact with others, communicate, learn, and behave. Although autism can be
diagnosed at any age, it is described as a “developmental disorder” because symptoms generally appear in
the first 2 years of life.” https://www.nimh.nih.gov/health/topics/autism-spectrum-disorders-asd; the
American Psychiatric Association’s Diagnostic and Statistical Manual of Mental Disorders (DSM-5), states
that people with autism often have: difficulty with communication and interaction with other people;
restricted interests and repetitive behaviors; and symptoms that affect their ability to function in school,
work, and other areas of life.
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which places girls with autism at a substantially increased risk of being sexually assaulted. 2

       20.       Plaintiff was a perfect target for Jeffery Epstein and his accomplice Ghislaine

Maxwell.

       21.       Epstein and Maxwell seized upon Plaintiff’s developmental disabilities, coupled

with her outwardly physical appearance, specifically fair skin, blue eyes and blond hair, for their

own deviant sexual predation.

       22.       Disgustingly, Epstein and Maxwell trafficked Ms. Doe to other men in their circle,

including Defendant Black.

II.    PLAINTIFF IS TRAFFICKED TO MULTIPLE POWERFUL PEOPLE,
       INCLUDING JEFFREY EPSTEIN AND GHISLAINE MAXWELL

       23.       During the summer of 2001, Ms. Doe signed up for a county recreational

cheerleading program geared towards girls ages 8-12. The program was run by an adult volunteer

named “Elizabeth,” about age 40, who upon information and belief, had no background in

cheerleading instruction.

       24.       Elizabeth told Plaintiff that even though she was 15, she could participate in the

recreational cheerleading if she could fit into the uniform, which she did.

       25.       Because of her developmental disabilities, the fact that she was in a cheerleading

group with girls as young as eight years old was not a problem for Ms. Doe. She was happy to be

participating.

       26.       Elizabeth soon showed Plaintiff extra attention. Not long after she began attending

the cheerleading program, Plaintiff was told by Elizabeth that she was going to live at Elizabeth’s


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    Studies show that girls with autism from ages 9 to 18 years are three times as likely to
experience sexual assault when compared to their neurotypical counterparts.
https://www.psychologytoday.com/us/blog/talking-about-trauma/202209/girls-autism-face-three-times-
the-risk-sexual-assault


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house several days a week. Of course, Plaintiff’s parents were involved in the living arrangements.

       27.     As the adults in her life undoubtedly anticipated, Plaintiff did as she was told and

never questioned Elizabeth or her parents.

       28.     Plaintiff travelled back and forth between Elizabeth’s home and her parents’ home throughout

the school year. Little did Plaintiff know what horrors were ahead for her.

       29.     From the beginning of her time living with Elizabeth, Plaintiff was subjected to

horrific, unimaginable physical abuse as part of the “training” Elizabeth believed necessary to

prepare her for what Elizabeth had planned.

       30.     By way of example only, Elizabeth violently physically abused Plaintiff, by

punching and kicking her and even dragging Plaintiff up multiple flights of stairs in her townhouse

by Plaintiff’s ponytail. Elizabeth psychologically abused Plaintiff by depriving her food and water

and punishing Plaintiff anytime Elizabeth was dissatisfied with Plaintiff’s behavior (which was

often), including by locking her a room for hours, making her dress in small children’s clothing

and making her work out for hours at a gym until Plaintiff was too exhausted to stand, often after

denying her any food.

       31.     Although Ms. Doe had moved in with Elizabeth, she did not have her own bed

there, much less a bedroom. Instead, Elizabeth repeatedly told Plaintiff that she did not “deserve”

her own bedroom in her house and that Plaintiff would not receive one until she “worked for it.”

Sadly, Plaintiff did not understand what Elizabeth meant, but she never questioned anything

Elizabeth did or said, especially because physical violence was something she wanted to avoid.

       32.     Elizabeth had a number of sexual partners at the time, including a man who lived

in the same house, as well as other male “friends,” who would visit Elizabeth. One of these men,

“Charlie,” was a white male in his late 40s. Elizabeth began sexually grooming Plaintiff as soon



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as she started staying overnight with Elizabeth.

        33.    The sexual grooming included Elizabeth telling Plaintiff that she had to stay close

to Elizabeth’s bedroom while Elizabeth then had sex with men with the door to her room open so

that Plaintiff could hear what was happening, and see inside if she tried to. Ms. Doe had never

engaged in sexual conduct herself. Again, Plaintiff did everything that Elizabeth and Charlie told

her to do.

        34.    Horribly, Elizabeth threatened Ms. Doe with the fact that she had a gun permit and

kept a gun in the house. She told Ms. Doe that if she ever told anyone about the things she and

Charlie made her do, that Plaintiff would go “missing,” and since no one loved or cared for her,

she would not be missed. Plaintiff never doubted what Elizabeth told her because her parents told

her to live with Elizabeth.

        35.    Plaintiff was forced to submit to Elizabeth’s degrading and violative conduct on a

daily basis. She feared being killed and believed everything that Elizabeth said.

        36.    Saying no to Elizabeth was not an option for Plaintiff. To this day, Plaintiff lives

in fear of Elizabeth.

III.    PLAINTIFF IS TRAFFICKED TO EPSTEIN AND MAXWELL

        37.    In 2001, when Ms. Doe was 15 years old, her                took her to Clearwater,

Florida, where she was introduced to a woman with dark hair and a British accent. During the

meeting, Ms. Doe was asked to undress in front of the woman. It was only later that Plaintiff

learned that this woman was Ghislaine Maxwell (“Maxwell”), the convicted sex offender currently

in prison serving a 20-year sentence.

        38.    Sometime in late summer of 2001, Elizabeth told Plaintiff that she was taking her

to what she referred to as an adult “party” in McLean, Virginia, a suburb outside of Washington



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D.C.

        39.     Elizabeth drove Ms. Doe to a large home, with a circular drive, fountain and pillars.

Plaintiff was told to go inside and she did.

        40.     The only people inside were adults – mostly men – who seemed “old” to Plaintiff.

        41.     At this party, she was approached by Maxwell, who sat with Plaintiff and feigned

interest in her safety and well-being.

        42.     At the time, Plaintiff did not know the woman’s name.

        43.     Maxwell led plaintiff over to a large white couch and took pains to give Plaintiff

the impression that she cared about her and was genuinely interested in what she had to say.

Maxwell seemed to ignore Plaintiff’s natural difficulties in conversing in social settings – her

inability to hold eye contact, her difficulties in picking up on social cues, how much she struggled

to keep up with conversations – and instead focused on making her feel comfortable. As a result,

Plaintiff mistakenly believed that Maxwell truly cared about her.

        44.     Maxwell spent the conversation lavishing Plaintiff with compliments, referring to

her as “a beautiful darling girl” and said that she was “a beautiful girl with the most beautiful bright

blue eyes, blonde hair and perfect hair” that made her look like a living “doll.”

        45.     Seemingly already aware of Plaintiff’s developmental disabilities, Maxwell treated

her like a child, holding her hand, bringing her to the bathroom and making her stand right outside

the door so Maxwell could keep talking to her the way mothers do with young children.

        46.     What Plaintiff did not realize at the time was that Maxwell was merely taking a

page out of what had by then become a well-rehearsed script, making efforts to bond with a

vulnerable young girl so that she would lower her guard by the time Maxwell introduced them to

Epstein. Although she did not know who the man was, Plaintiff noticed the constant looks passing



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between Maxwell and a man on the other side of the room throughout the evening.

       47.     At some point Maxwell brought Plaintiff out to the driveway where Elizabeth was

waiting. She told Elizabeth that Plaintiff was a “darling,” a “good girl,” and a “beautiful girl.”

       48.     In a contemporaneous journal Plaintiff created in 2001, she wrote:

       •       “Same exact British lady from Clearwater was there! She talked to me
               all night.”

       •       “She wants me to come to her house in Florida so I can learn new things!”

       •       She also wrote that perhaps the “British lady from Clearwater” could “get
               her away from” [Elizabeth].

       49.     The very next week, Elizabeth put Plaintiff on a private plane from Virginia to Palm

Beach. There she was picked up by a man who drove her in a large SUV to Epstein’s home.

       50.     Maxwell and Epstein began exposing Plaintiff to their sexual deviance less than an

hour after she first arrived. They placed her in a swivel chair in a hallway outside of their bedroom

and told her to “not move.” She did not move from the chair, but instead turned around and around

in the swivel chair while she listened to them having sex in the next room with the door open.

When they were done, they came out into the hallway, and acted happy and told Plaintiff she was

a “good girl” for staying seated. They then acted as if nothing had happened and took her

downstairs.

       51.     Quickly, Maxwell showed Plaintiff how to “make Jeffrey happy.” Maxwell held

Plaintiff’s hand the first time she showed her the way to massage Jeffrey and make him ejaculate

through oral sex – both Maxwell and Epstein gave Plaintiff “happy claps” for her brilliant success,

the way parents do with five-year-olds.

       52.     They made Plaintiff engage in sexual acts that night. Epstein wrapped his arms

around both Plaintiff and Maxwell, and Maxwell was affectionate and made Plaintiff believe that


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she cared about her.

       53.     Sarah Kellen (Kellen), not Maxwell, is the one who taught Plaintiff how to make

“Jeffrey happy” by having sexual intercourse with him.

       54.     Epstein made Plaintiff sit on his lap with her feet draped over Maxwell’s legs as

Epstein also complimented her about how beautiful she was and how much he was drawn to her

mix of blonde hair and blue eyes and porcelain skin.

       55.     Epstein often told Plaintiff that she was his “very special girl,” and commented on

her “special innocence.”

       56.     Elizabeth trafficked Plaintiff to other men in addition to Epstein. Numerous times,

Elizabeth sent Plaintiff to have sexual interactions with other powerful and wealthy men in areas

not far from where Elizabeth and Plaintiff’s parents lived. This happened during the school week,

causing Plaintiff to miss partial and full days of school. Elizabeth would refer to this as “shipping

you out.”

       57.     Elizabeth was not the only adult who trafficked Plaintiff during this time. Horribly,

Plaintiff’s own                             and close friends of             also shipped her out to

Epstein and Maxwell, and to other men. Plaintiff understood that she was expected to have sexual

intercourse with whomever she was sent to.

       58.     Epstein required Plaintiff to give him massages, and he would strip completely

naked prior to receiving the massage from Plaintiff. Plaintiff, who was 15 or had just turned 16

shortly before first meeting Maxwell, sometimes also was required to remove all of her clothing

before giving Epstein this massage.




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IV.       THE “HAND OFF”

          59.   Once Epstein was satisfied that Plaintiff knew how to give him a massage involving

sexual intercourse, which happened quickly, he began what Plaintiff knows as the “hand off.”

          60.    The “hand off” meant that Plaintiff had to go with any other man (usually a white

male that seemed very “old” to Plaintiff) to give him a massage and have sexual intercourse.

Plaintiff had to do this in Palm Beach and on Epstein’s island in the USVI.

          61.   It was important that Epstein or any other men did not complain about Plaintiff to

her handlers. Plaintiff feared nothing more than Elizabeth saying that she did not get a “good

report” that Plaintiff had been a “good girl” by Epstein or whichever man she had been sent to.

          62.   If Plaintiff had not been a “good girl,” she would be subjected to intensified

physical and psychological abuse by Elizabeth.

          63.   On a few occasions when Plaintiff had been sent to Epstein and returned to

Elizabeth’s, an envelope was put into her bag and she was told not to touch it. Plaintiff was warned

that the amount of money in the envelope was known, so if Plaintiff removed any, she would be

caught.

          64.   Plaintiff was not allowed to unpack her own bag when she returned to Elizabeth’s.

This was a task reserved for Elizabeth.

          65.   One time when an envelope had been placed in Plaintiff’s bag after having to be

with Epstein but it was not completely sealed, even though Plaintiff had not touched the envelope,

much less taken cash from it, Elizabeth subjected Plaintiff to a beating simply because Elizabeth

decided she was a “fucking idiot.”

          66.   Regularly, Plaintiff was threatened by her handlers that she must remain silent.

Elizabeth would reiterate her threats to kill Plaintiff if she ever discussed what had happened to

her.
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       67.     Plaintiff believed Elizabeth’s claim that no one in the world cared enough for her

to notice if she disappeared. She therefore lived in constant fear of what would happen if she ever

spoke up about being trafficked and kept silent for years.

       68.     In 2002, Plaintiff wrote in her journal about the multiple powerful men she was

trafficked to, including Epstein and Black, and mentioned the various locations where she was

trafficked:

               It doesn’t matter how far away you are.

               No matter how good you think they are.

               Even the [redacted]! They will get you.

               He should have been thinking of [redacted]! Gross!

               In a plane on a yacht in NY, in DC, at the vineyard.

               On the island. In palm beach.

               It doesn’t matter.

               Disgusting pigs like [redacted] and Mr. [redacted] and even Mr.
               [redacted] will hurt you especially if Ghislaine is busy or not with
               you!

V.     PLAINTIFF IS TRAFFICKED BY EPSTEIN TO HIS NYC TOWNHOUSE FOR
       THE PURPOSE OF BEING HANDED OFF TO LEON BLACK

       69.     Not long after Plaintiff had been trained to give Epstein massages involving sex,

with the assistance of Elizabeth, Charlie, and other handlers, Epstein and Maxwell trafficked

Plaintiff across several state lines to Epstein’s townhouse located at 9 East 71st Street.




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        70.       Upon information and belief, in late fall 2001 or early winter 2002, she was brought

there and stayed overnight.

        71.       Plaintiff never left any of Epstein’s residences alone, and certainly not in NYC,

where she had never been before. Yet, one time Epstein and Maxwell took Plaintiff to what she

believed was a theater for ballet but not to see a performance. Instead, Epstein and Maxwell met

with some individuals there, in what seemed like offices behind the stage, and Plaintiff was

introduced to a dancer.

        72.       During this NYC stay, Maxwell brought Plaintiff to a different, smaller townhouse,

not far away from Epstein’s. Maxwell told Plaintiff that she needed to get a few things.

        73.       Upon information and belief, this was Maxwell’s townhouse located at 116 East

65th Street.

        74.       In or around late spring of 2002 or early summer, Elizabeth told Plaintiff that she

was being “shipped off” to New York City. She said that Charlie would be driving her to New

York City to meet Epstein’s “special friend,” a man named Leon Black. It was emphasized that

Leon Black was a “very important and special person” to “Jeffrey,” and Plaintiff was told that she

“better” receive a “good report” that she needed to be a “good girl” for Jeffrey and his important,

special friend.

        75.       Charlie drove Plaintiff to New York City. She went to Epstein’s where she was

summoned to Epstein who was standing with a huge older man – Black is 6’ 4” and about 300

pounds. The two men appeared to be having a conversation.

        76.       Epstein introduced Plaintiff to Leon Black, using his full name, and told her that

Black was “important” and “special” to Epstein. Plaintiff was struck by Black’s immense size.

Plaintiff’s initial impression of Black was that he looked like an “ogre,” and she felt frightened.



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       77.       Plaintiff noticed Black’s bulbous nose and that his face and neck had a number of

skin tags and moles.

       78.       Epstein told Plaintiff that because she was his “special girl,” he had selected her

specifically to give his “special friend,” Black, a massage.

       79.       Epstein told Plaintiff that she was to give Black the same kind of “massage

treatment” that she gives Epstein – meaning that it would involve sexual intercourse and she was

expected to strip naked.

       80.       Black took Plaintiff by her hand, squeezing it so hard that she thought he might

have broken bones, and led her upstairs to a massage room on the third floor of the townhouse.

She had been in the room with Epstein on her prior stay at the townhouse.

       81.       In the room there were a variety of oils and adult sex toys next to the massage table.

       82.       Plaintiff assumed that Black would proceed to disrobe before laying down on the

massage table, the way Epstein usually did.

       83.       Instead, Black picked Plaintiff up and threw her over his shoulder and then threw

her violently down on the massage table on her back, so hard he knocked the wind out of Plaintiff.

She thought the massage table might have broken. She tried to scream but Black placed his hand

over her mouth and leaned over her while ripping off her shirt and under her skirt pulling her

underwear off.

       84.       Plaintiff was crying and terrified. Black asked her repeatedly what made her

“Jeffrey’s special girl” and throughout the assault called her demeaning, shameful, disgusting

names. Plaintiff was in a complete state of shock because this was nothing like the massages she

had been taught to give Epstein.

       85.       She tried to move off the table but Black had her pinned down. Black laughed at



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Plaintiff’s futile attempts to escape his grasp, and he asked her if she considered herself “feisty”

and mocked her by claiming that that he wanted Plaintiff to show him why Epstein referred to her

as his “special girl.”

        86.     Plaintiff could not see, but rather heard Black rummaging among the adult toys

nearby and he roughly forced her legs apart causing Plaintiff to feel as if her pelvic bone had been

broken. Using what upon information and belief was a large dildo, Black then penetrated Plaintiff

simultaneously in both her vagina and rectum, using such force that Plaintiff felt tearing in her

internal tissue. When Plaintiff screamed out in agony, Black again covered her mouth with one of

his hands.

        87.     Plaintiff was crying still when Black placed his mouth on her vaginal area. At this

point, Plaintiff realized that struggling would be useless given how much stronger and physically

more massive Black was and instead pleaded with Black to stop as she sobbed.

        88.     She felt a sharp pain in her vagina, like a hard pinch and she let out a loud scream.

At the scream, Black lifted his head out from under her skirt and she saw blood on his mouth and

she panicked and kicked him with her right leg. Her “kick” landed on his chest, and while it likely

did not hurt him, he was enraged that she struck out at him and he began viciously cursing her.

        89.     He then called her a “fucking bitch,” “whore” and a “slut,” and picked Plaintiff up

off the massage table and threw her to the floor.

        90.     Once on the floor, Plaintiff attempted to scramble towards the door but Black

instead grabbed her legs, pulled Plaintiff towards him and she saw blood on the floor which likely

was from her rectum. In his rage, Black called her a “little cunt.”

        91.     Black got on top of her. Plaintiff went into shock and began to disassociate, trying

to convince herself that she was somewhere else but the unimaginable pain she experienced



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prevented her from even this temporary respite. He continued to violently thrust himself on her

with such force, that she felt he was crushing her pelvic and hip bones.

        92.     Despite violently thrusting over her with his extreme weight, Black kept telling

Plaintiff to “stay still.” She felt like she could not breathe.

        93.     When Black appeared to be finished, he grabbed Plaintiff up by her wrists and

slammed her into the wall and watched as she slid down to a sitting position – still crying in fear

and pain. After what seemed like a long time to Plaintiff, Epstein came in and found her still

against the wall and crying.

        94.     Plaintiff begged Epstein to take her to a doctor because she was in physical agony

and was continuing to bleed but he refused, instead he handed her towels to clean herself up.

        95.     He then took her down to the second floor of his townhouse and told her to wait in

a chair. Epstein said that Maxwell would take care of her.

        96.     Epstein grew increasingly frustrated as Plaintiff continued to cry. He demanded

that she pull herself together as he was expecting a visitor.

        97.     Shortly thereafter, a thin, middle-aged blonde woman arrived at the townhouse and

had folders in her hands which she gave to Epstein. Upon information and belief, this woman was

Leslie Groff, Epstein’s long-time New York based assistant.

        98.     As set forth above, Black’s assault of her is detailed by Plaintiff in her

contemporaneously kept notebooks:

                Walk down Madison Avenue to 71st St.

                My         has lost her fucking mind. Even though Ghislane said it
                was best to take me home because Mr. Black is so important for
                some reason over my health.

                There is going to be hell to pay. I ruined their trip and I am dramatic
                when that fat fuck bit me!

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                  He threw me on the floor and blood all over Jeffreys carpet and I am
                  the issue?

                  Who the fuck bites someone? Sick!

                  No one is that important and Leon can go fuck himself.

                  I hate New York !

        99.       In a journal entry after the one above, Plaintiff wrote “Leon Black” next to a poem

she cut and pasted into the notebook, having underlined words in the poem such as “Fatso” and

“millionaire.”

        100.      Plaintiff was trafficked by Elizabeth and others to many other men, both before and

after Black. The violent and sadistic nature of Black’s rape left an indelible mark on her, both

physically and psychologically. Plaintiff suffered internal abrasions in her rectum that continue to

cause her pain.

        101.      To this day, Plaintiff often is triggered each month at the beginning of her menstrual

cycle as the sight of blood from her body causes Plaintiff to suffer from panic attacks, reliving the

attack that she endured ay Black’s hands.

VI.     BLACK’S OTHER VICTIMS THROUGH EPSTEIN

        102.      Upon information and belief, Plaintiff is not the only female who Epstein and Black

sexually violated.

        103.      For example, on March 13, 2023, in the matter of Jane Doe 1, et al. v. Deutsche

Bank Aktiengesellschaft et al., Index No. 22 Civ. 10018 (JSR) (Southern District of New York),

the district court heard oral argument on the defendant’s motion to dismiss. As part of Jane Doe

1’s claims, she had alleged that,

                  There came a time when Epstein forced Jane Doe 1 to give massages
                  to his powerful friends. During some of these massages, Jane Doe 1

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                was sexually abused by force and against her will by Epstein’s
                friends, by whom she had been required to do massage.

        104.    Deutsche Bank introduced a release agreement (“Release”) between Jane Doe 1

and Epstein in support of its motion to dismiss. This Release included a carve out of Jane Doe 1’s

claims against Black, as well as another individual, James (Jes) Staley, a former banker who Black

introduced to Epstein in or around 2000.

        105.    At oral argument, the portions of the Release were read into the record, including,

in relevant part that:

                While the parties do not believe there is any reasonable
                interpretation that this general release could be construed to release
                James (Jes) Staley, Leon Black or their respective entity
                affiliations. For clarity, this general release and settlement
                agreement specifically does not include James (Jes) Staley, Leon
                Black or any company or entity which either is or was
                beneficially owned or controlled by James (Jes) Staley or Leon
                Black as a releasee or released party under this general release and
                settlement agreement.

        106.    Of course, if Black had not engaged in sexual misconduct or other tortious claims

against Jane Doe 1, there would have been no reason to include him in the carve out along with

Jes Staley.

        107.    Additionally, beginning in August 2019, the U.S. Virgin Islands (“USVI”)

conducted extensive investigations into Epstein’s sex trafficking activities, culminating in a

lawsuit against Epstein’s estate. That lawsuit was settled between the Office of the Attorney

General for the USVI and Epstein’s estate in December 2022 for over $100 million.

        108.    As part of the USVI’s investigation into Epstein, in August 2020, Black was served

with subpoenas from the USVI.




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       109.    The subpoenas to Black sought extensive financial documents and tax information

relating to Epstein and entities controlled by Epstein, including Southern Trust, the entity Epstein

used to operate Little St. James.

       110.    In September 2020, the NYT disclosed that Black had deposited $158 million into

Southern Trust’s account between 2013-2017. Thereafter, Black came under intense scrutiny from

Wall Street contingencies and other interested parties, and in October 2020, to help protect Black’s

reputation, Dechert LLP was retained to “investigate” Epstein’s ties to Black and to Apollo.

       111.    Following Dechert’s private investigation, it wrote a report that it filed with the

Securities and Exchange Commission (“SEC”) (the “Dechert Report”) 3.

       112.    The Dechert Report revealed that Black claimed he paid Epstein $158 million to

Epstein, who possessed neither a college degree, nor any advanced degrees related to tax

advisement or estate planning, “for the overall value he believed Epstein was providing to him

through Epstein’s advice on trust and estate planning, tax issues, philanthropic issues, and the

operation of [Black’s] Family [wealth management] Office.”

       113.    According to the Dechert Report, Epstein offered his “most valuable piece of work”

to Black in 2012, which was advice related to Black’s Grantor Retained Annuity Trust (“GRAT”),

that reportedly saved Black “as much as $1 billion or more” in tax liabilities.

       114.    Black has never explained why Epstein performed his GRAT work rather than Paul

Weiss, when the law firm had provided the legal work for Apollo and Black for decades and several

Paul Weiss partners are considered our nation’s leading tax and estate planning lawyers.




3
       Available at: www.sec.gov/Archives/edgar/data/1411494/000119312521016405/d118102dex99.
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       115.    On July 21, 2023, the New York Times reported that Black agreed to pay the U.S.

Virgin Islands Office of the Attorney General $62.5 million in order to avoid possible claims

stemming from his relationship with Epstein. 4

       116.    Black entered into that settlement agreement with the USVI on January 20, 2023,

following mediation.

       117.    According to the New York Times, “Some victims of Mr. Epstein who had received

settlements directly from his estate were granted permission by the estate’s executors to pursue

claims against a handful of men who had socialized with Mr. Epstein, according to a person with

knowledge of the matter. Mr. Black was one of those men.”

       118.    Based on the above, it is clear that Ms. Doe is not the only victim of both Epstein

and Black.

                                       CAUSE OF ACTION

              Victims of Gender-Motivated Violence Protection Law (VGMVPL)

       119.    Plaintiff hereby repeats and realleges each and every allegation in the preceding

paragraphs as though set forth fully herein.

       120.    The above-described conduct of Defendant Black, including, but not limited to,

Defendant Black’s sexual assault and rape of Plaintiff constitutes a “crime of violence” and a

“crime of violence motivated by gender” against Plaintiff as defined by the New York City Victims

of Gender-Motivated Violence Protection Act (VGMVPL), as amended, N.Y.C. Admin. Code §

10-1101, et seq.

       121.    The above-described conduct of Defendant Black, including, but not limited to,



4
        Goldstein, “Leon Black Agreed to Pay $62.5 Million to Settle Epstein-Related Claims,” NY Times,
July 21, 2023, https://www.nytimes.com/2023/07/21/business/leon-black-settlement-jeffrey-epstein-
claims.html.
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Defendant Black’s sexual assault and rape of Plaintiff constitutes a “crime of violence” against

Plaintiff and is a “crime of violence motivated by gender” as defined in § 10-1103 (“The term

‘crime of violence’ means an act or series of acts that would constitute a misdemeanor or felony

against the person as defined in state or federal law or that would constitute a misdemeanor or

felony against property as defined in state or federal law if the conduct presents a serious risk of

physical injury to another, whether or not those acts have actually resulted in criminal charges,

prosecution, or conviction,” and “The term ‘crime of violence motivated by gender’ means a crime

of violence committed because of gender or on the basis of gender, and due, at least in part, to an

animus based on the victim’s gender.”).

       122.    As a direct and proximate result of the aforementioned crime of violence and

gender-motivated violence, Plaintiff has sustained in the past and will continue to sustain,

monetary damages, physical injury, pain and suffering, and serious psychological and emotional

distress, entitling her to an award of compensatory and punitive damages, injunctive and

declaratory relief, attorneys fees and costs, and other remedies as this Court may deem appropriate

damages, as set forth in § 10-1104.

       123.    The above-described conduct of Defendant Black constitutes a sexual offense as

defined in Article One Hundred Thirty of the New York Penal Law (“Article 130”).

       124.    Pursuant to § 10-1105(a), this cause of action is timely because it is commenced

within “two years and six months after September 1, 2022.”

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that the Court enter judgment in her favor and against

Defendant, containing the following relief:

       A.      A declaratory judgment that the actions, conduct and practices of Defendant



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complained of herein violate the laws of the State of New York and the City of New York;

       B.      An injunction and order permanently restraining Defendant and any and all

persons acting in concert with him, from engaging in any such further unlawful conduct, including

the conduct complained of herein;

       C.      An award of damages against Defendant, or any jointly or severally liable entity

or person, in an amount to be determined at trial, plus prejudgment interest, to compensate

Plaintiff for all monetary and/or economic damages;

       D.      An award of damages against Defendant, or any jointly or severally liable entity

or person, in an amount to be determined at trial, plus prejudgment interest, to compensate

Plaintiff for all non-monetary and/or compensatory damages, including, but not limited to,

compensation for her physical injuries and emotional distress;

       E.      An award of damages for any and all other monetary and/or non-monetary losses

suffered by Plaintiff, including, but not limited to, reputational harm in an amount to be

determined at trial, plus prejudgment interest;

       F.      An award of punitive damages, and any applicable penalties and/or liquidated

damages in an amount to be determined at trial;

       G.      Prejudgment interest on all amounts due;

       H.      An award of costs that Plaintiff has incurred in this action, including, but not

limited to, expert witness fees, as well as Plaintiff’s reasonable attorneys’ fees and costs to the

fullest extent permitted by law; and,

       I.      Such other and further relief as the Court may deem just and proper.




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                                      JURY DEMAND

      Plaintiff hereby demands a trial by jury on all issues of fact and damages stated herein.

Dated: November 7, 2024
       New York, New York                           Respectfully submitted,

                                                    WIGDOR LLP


                                                    By: ____________________
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